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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                         CASE NO.
    DELENA BROWN

             Plaintiff,
    vs.

    CARNIVAL CORPORATION,
    WINDFEATHER CHARTERS NV,
    RUMBARUBA TOURS NV,
    MI DUSHI SAILING AND SNORKELING
    TOURS DUTCH CARIBBEAN, and
    XYZ CORP.
          Defendants.
    ___________________________/

                           COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff sues Defendants and alleges:

                            SUBJECT MATTER JURISDICTION ALLEGATIONS

                                 A. Diversity of Citizenship Allegations

    1.       This matter is being brought pursuant to the diversity of jurisdiction of this court,

    under to 28 U.S.C. § 1332.

    2.       The Plaintiff is a citizen of Georgia.

    3.       Defendant CARNIVAL CORPORATION (hereinafter “Carnival”) is a Florida

    business entity, with a principal place of business in Miami, Florida.

    4.       Defendants Windfeather Charters NV, Rumbaruba Tours NV, and Mi Dushi Sail

    & Snorkeling Tours Dutch Caribbean are believed to be foreign corporations based in

    Aruba.

    5.       Defendant XYZ Corp. is a fictitious entity used for purposes of preserving the

    Plaintiff’s right to sue against any unknown tortfeasor entities within the time prescribed

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    by the applicable statute of limitations. Once the identity of the Defendant is known,

    Plaintiff will substitute the fictitious name.

    6.      The matter in controversy exceeds, exclusive of interest and costs, the sum

    specified by 28 U.S.C. §1332.

                            B.      Admiralty Jurisdiction Allegations.

    7.      In the alternative, in the event that diversity of citizenship does not apply, this

    matter is being brought under the maritime and admiralty jurisdiction of the Court. In

    particular, Plaintiff brings this action pursuant to Article III, §2 of the United States

    Constitution, delegating jurisdiction over admiralty cases to the federal courts. In

    particular, Plaintiff brings this action pursuant to 28 U.S.C. §1333 which gives Article III

    courts “original jurisdiction … of … [a]ny civil case of admiralty or maritime

    jurisdiction.” Aqua Log, Inc. v. Lost and Abandoned Pre-Cut Logs and Rafts of Logs, 709

    F. 3d 1055, 1058 (11th Cir. 2013).

                        PERSONAL JURISDICTION ALLEGATIONS

    6.      Defendants are subject to the jurisdiction of the Courts of this state.

    7.      Defendants, at all times material hereto, personally or through an agent;

            a.      Operated, conducted, engaged in or carried on a business venture in this

                    state and/or country or had an office or agency in this state and/or county;

            b.      Were engaged in substantial activity within this state;

            c.      Operated vessels in the waters of this state;

            d.      Purposefully availed themselves of the benefits of conducting activities in

                    Florida by purposefully directing its activities toward the state, thereby

                    obtaining the benefits and protections of the state’s laws;


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           e.      The acts of Defendants set out in this Complaint occurred in whole or in

                   part in this state.

    A.     The Tour Operator’s overwhelming continuous and systematic general
           business contacts with Florida satisfy the requirements of the ‘general
           jurisdiction’ section of the Florida long-arm statute, §48.193(2).

    8.     The Plaintiff began and ended her cruise in Florida. Aruba was a scheduled port-

    of-call, and was an integral part of the ongoing cruise or maritime activity in this case.

    The particular incident in this matter effectively began and ended aboard the cruise ship.

    9.     Windfeather Charters NV, Rumbaruba Tours NV, and Mi Dushi Sail &

    Snorkeling Tours Dutch Caribbean, and XYZ Corp. (hereinafter collectively “Tour

    Operator”), are the tour operators of “Mi Dushi Sail & Snorkel with lunch” excursion, in

    Catalina Bay, Aruba.

    10.    Since its inception, Tour Operator has engaged in substantial and not isolated

    activity within this state under the general jurisdiction section of Florida’s long-arm

    statute. Fla. Stat. §48.193(2). Tour Operator’s continuous and systematic activities with

    Florida include: 1) reaching out to cruise lines in Florida and establishing long term

    business partnerships with them; 2) deriving the vast majority of its revenues from

    business with Florida-based cruise lines; 3) periodically travelling to Florida to meet with

    cruise line executives to maintain (and obtain new) business; 4) participating in

    SEATRADE, a cruise industry trade show in Florida, and maintaining active membership

    in the Florida-based Florida Caribbean Cruise Association; 5)         procuring insurance

    through Florida companies and maintaining Florida entities as agents of record for its

    insurance purposes; 6) agreeing to insure and indemnify entities in Florida; 7) signing

    premium financing agreements with a Florida entity, with the intent to obtain a loan to be


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    able to pay for liability insurance premiums; 8) signing powers of attorney and

    appointing attorneys-in-fact in Florida to carry out its Florida operations.        In the

    aggregate, therefore, Tour Operator’s business activities in the state of Florida establish

    general jurisdiction. While any these activities alone may not be deemed sufficient,

    considered collectively, they establish personal jurisdiction.

    11.    Upon information and belief, Cynthia Lee Cynowa and Marc Alan Wiggins,

    managing directors of Tour Operator, are American citizens.

    12.    Since its inception, Tour Operator has been in the business of providing

    excursions to Florida cruise line passengers in Aruba. The majority of Tour Operator’s

    business comes from Florida-based cruise lines, including Royal Caribbean, Celebrity,

    Norwegian Cruise Lines, and Carnival. All of these cruise lines are headquartered in

    Miami, Florida. Tour Operator marketed and sold its excursions in Florida to passengers

    of these Florida-based cruise lines.

    13.    Every year, hundreds of thousands of passengers are brought to Aruba on cruise

    ships owned by Florida-based cruise lines. Tour Operator attracts these customers to its

    shore excursions by reaching out to Florida-based cruise lines and establishing business

    partnerships with them. Upon information and belief, the majority of participants in Tour

    Operator’s excursions have come from Florida cruise lines.

    14.    The following cruise lines call on Aruba: Carnival (based in Miami), Celebrity

    (based in Miami), Cunard (a wholly owned subsidiary of Carnival with shore excursion

    operations offices in Miami), Norwegian Cruise Line (based in Miami), Oceania Cruises

    (based in Miami), Princess Cruises (port operations office in Ft. Lauderdale and

    headquarters in California), Regent Seven Seas Cruises (based in Ft. Lauderdale), and


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    Silversea Cruises (based in Ft. Lauderdale). Upon information and belief, Defendant Tour

    Operator has long term business partnerships with all of these cruise lines.

    15.    Tour Operator sells excursions to cruise passengers originating in Florida. With

    regards to Carnival, Tour Operator has sold thousands of excursions to Carnival

    passengers. During the course of Tour Operator’s business partnership with Carnival,

    these thousands of passengers were brought to Aruba from cruises home ported and

    originating in Florida. The thousands of passengers that bought Tour Operator’s shore

    excursions boarded the cruise ship in Florida. In other words, these thousands of

    passengers began and ended their cruise in Florida.

    16.     Tour Operator receives the benefits of the advertising efforts of Florida-based

    cruise lines. When passengers boarded the vessel, Carnival offered, arranged for,

    recommended, and marketed Tour Operator’s excursion in Aruba in various places

    around its ships. For instance, Carnival allowed passengers to book and pay for Tour

    Operator’s excursion in their stateroom, through an interactive menu in the stateroom’s

    television. There, Carnival passengers could review the menu of Tour Operator’s tours,

    purchase the tour, read about the tour, see pictures, see a video, and all of the items that

    Tour Operator would offer them upon their arrival to Aruba. Alternatively, Carnival

    allowed passengers to book and pay for Tour Operator’s excursion at the ships’ excursion

    desk and exploration desk. There, passengers could talk to a Carnival crewmember,

    trained by Carnival, to answer questions and provide information about Tour Operator’s

    excursion and to help the guest book and buy it.

    17.    Carnival also advertises and promotes Tour Operator’s shore excursions on its

    websites. These websites, hosted in Florida, specifically target millions of North


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    American cruise passengers. Other Florida-based cruise lines, such as Royal Caribbean

    and Norwegian Cruise Line also advertise and promote Tour Operator’s shore excursions

    on board their ships, as well as via their websites hosted in Florida, and also targeting

    millions of North American cruise passengers.

    18.    Therefore, one of the clear benefits of an excursion operator like Defendant Tour

    Operator is that when it enters into agreements with Florida-based cruise lines, it receives

    the benefits of the cruise line’s advertising efforts in Florida directed toward their actual

    and potential customers in Florida.

    19.    Once a passenger books a Tour Operator excursion on a Carnival ship, pays for

    the excursion in full, and participates in the excursion; Tour Operator sends an invoice to

    Carnival’s accounts payable department, in Miami, Florida. These invoices are then

    processed and approved by the accounts payable department in Miami, Florida. Once

    processed and approved, the funds are wire transferred to Tour Operator based on

    banking details provided to the cruise line. This process is repeated after every shore

    excursion is completed (on each given cruise). Each month, Tour Operator sends invoices

    and receives wire transfers processed by Carnival in Florida. Payments to Tour Operator

    by other Florida- based cruise lines (i.e. Royal Caribbean, Norwegian Cruise line), are

    also processed by these cruise line’s accounts payable departments in Miami, Florida and

    wire transferred to Tour Operator.

    20.    Upon information and belief, Tour Operator’s owners and/or representatives

    periodically travel to Florida in order to maintain existing (and obtain new) cruise

    business. During these visits Tour Operator’s representatives participate in SEATRADE

    (a cruise line industry convention in Miami), and meet with Florida cruise line executives


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    at their Florida headquarters. At these meetings, Tour Operator’s representatives and

    Florida cruise line officials discuss existing tours, potential new tours, and operational

    issues and problems arising from the excursion.

    21.    Tour Operator has also been able to maintain its business relationships with

    Florida-based cruise lines, through its active membership in the Florida Caribbean Cruise

    Association (FCCA). Based in Pembroke Pines, Florida, the FCCA is a non-profit trade

    organization composed of fourteen member lines operating more than 100 vessels in

    Florida. The FCC also offers membership to non-cruise line members, such as Tour

    Operator. Associate members such as Tour Operator receive valuable mediums in which

    to network with cruise line executives at FCCA functions. Tour Operator has also been

    listed in the FCCA’s Membership Directory, which is circulated to cruise line executives,

    and Tour Operator has had access to the FCCA’s advertising program (allowing it to

    place ads at discounted rates in FCCA’s Cruising Magazine) and FCCA’s insurance

    program.

    22.    After completing the various meetings with Florida cruise line executives, in

    order to maintain existing (and obtain new) business, Tour Operator submits annual bids

    for contracts to every Florida cruise line it wants to continue doing business with. The

    bids are submitted to cruise line executives in Florida. The bids are sent via e-mail to

    Florida, at cruise line shore excursion departments. Through these bids, Tour Operator

    offers to Florida cruise lines different excursions it operates in Aruba. The bids include

    forms (created by Florida cruise lines). In the forms, Tour Operator gives the Florida

    cruise line information regarding each excursion including: tour operator information,




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    tour pricing, timing, accessibility, safety policies, licenses, permits and prior accidents

    and injuries that have occurred on its tours.

    23.    Tour Operator must submit these bids and the attached tour forms every year to

    cruise line offices in Florida, in order to renew existing agreements and/or obtain new

    business from the cruise line. Once Tour Operator submits these bids, the Florida cruise

    lines processes the forms and determines (at their offices in Florida), whether or not to

    renew and/or expand its existing contract with Tour Operator. By submitting bids and

    tour proposal templates to Florida-based cruise lines every year, Tour Operator

    purposefully reached out to cruise lines in Florida to maintain (and increase) the vast

    majority of its revenues.

    24.    Tour Operator agreed to the personal jurisdiction of Florida in contracts with

    Florida-based cruise lines. After submitting its bids and tour proposal agreements, Tour

    Operator has entered into contracts to provide shore excursions to passengers of Florida-

    based cruise lines. These contracts governed all of Tour Operator’s shore excursions for

    Florida cruise line passengers. These contracts were drafted by cruise line legal

    departments in Florida. Further, upon information and belief, these contracts were

    executed in Florida.

    25.     The contracts include a ‘governing law and consent to jurisdiction’ section under

    which Tour Operator has contractually agreed to the exclusive jurisdiction of courts in

    Florida. Through these contracts, Tour Operator unequivocally stipulated and agreed to

    the exclusive jurisdiction of courts in Florida for all disputes and matters whatsoever

    incident to the cruise ticket agreement between the guest (in this case the Plaintiff) and

    the cruise line. And by agreeing to the jurisdiction of courts in Florida, Tour Operator


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    purposefully availed itself in advance, and intended to submit itself to the jurisdiction of

    this Court. Insurance Corp. of Ireland v. Compagnie des Bauxites De Guinee, 456 U.S.

    694, 704 (1982) (“[P]arties to a contract may agree in advance to submit to the

    jurisdiction of a given court.”).

    26.     The conferral of jurisdiction clauses contained in these standard excursion

    contracts undeniably satisfies the constitutional due process requirements because it

    demonstrates that Tour Operator intended to submit to the jurisdiction of this court.

    27.     As part of its contractual obligations with Florida-based cruise lines, Tour

    Operator procures insurance coverage. The geographical coverage of these insurance

    policies includes Florida. Tour Operator procures (and pays for insurance premiums) in

    order to maintain its business relationships with Florida-based cruise lines.

    28.     Tour Operator procures insurance from Florida based entities that specifically

    provide liability coverage to its Florida cruise line business partners, in the event that a

    Tour Operator passenger is injured on an excursion and brings a claim against the cruise

    line.

    29.     United States citizens who embark on cruises in Florida and buy cruises from

    Florida-based cruise lines, including the Plaintiff in this matter, are intended third party

    beneficiaries under the aforementioned insurance policies.

    30.     Tour Operator procured insurance through Florida companies and maintained

    Florida entities as agents of record in Florida for its insurance purposes. During the

    relevant period, Tour Operator procured insurance through Florida-based insurance

    brokers. During this time, these Florida-based insurance brokers functioned as Tour

    Operator’s agent.


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     31.     Tour Operator appointed agents in Florida in order to procure insurance on Tour

     Operator’s behalf.

     32.     Upon information and belief, Tour Operator gave powers of attorney to Florida

     agents, to act on its behalf as attorneys-in-fact.

     33.     Upon information and belief, Tour Operator entered into premium financing

     agreements with Florida entities, in order to pay for insurance policy premiums procured

     for the benefit of Florida-based cruise lines and passengers, such as the Plaintiff.

     34.     In order to defend from the claims in this matter, Tour Operator will hire and

     retain Florida-based lawyers to represent it in Florida courts.

     35.     All in all, Tour Operator’s activities “show a general course of business activity in

     the State [of Florida] for pecuniary benefit.” Stubbs v. Wyndham Nassau Resort and

     Crystal Palace Casino, 447 F. 3d 1357, 1361 (11th Cir. 2006) (quotations omitted). This

     is the type of continuous and systematic general business contact with Florida that

     satisfies the requirements of the “general jurisdiction” section of the Florida long-arm

     statute, §48.193(2).

     36.     The Tour Operator’s overwhelming contacts with Florida subject it to the

     personal jurisdiction of this state. The facts here, are entirely distinguishable from those

     at issue in Daimler AG v. Bauman, 134 S. Ct. 746 (2014). The Daimler case was initiated

     in California by Argentinian residents who sued a German entity (Daimler) for war

     crimes committed in Argentina by an Argentinian subsidiary of Daimler (Mercedes–Benz

     USA, LLC (MBUSA)). See Daimler, 134 S. Ct. at 751. Notably, the only named

     defendant in the case was the German entity, Daimler. Id. at 752. The plaintiffs did not

     name a single California entity as a defendant in the case that was, again, pending in


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     California. Rather, “[j]urisdiction over the lawsuit was predicated on the California

     contacts of [MBUSA], a subsidiary of Daimler (incorporated in Delaware with its

     principal place of business in New Jersey.” Id. That subsidiary “distribute[d] Daimler-

     manufactured vehicles to independent dealerships throughout the United States, including

     California.” Id. The Supreme Court attribute MBUSA’s contacts to the foreign defendant

     (Daimler). Those contacts, however, were insufficient because MBUSA (and therefore

     Daimler) was not deemed “at home” in the jurisdiction. MBUSA was not “at home” in

     California because: (1) it was not incorporated in California; (2) it did not have its

     principal place of business in California; and, (3) its activities (i.e., distribution of

     vehicles) were directed throughout the entire United States, which prevented the Court

     from being able to consider the entity at home in every state.

     37.    The circumstances of this case are markedly different. Unlike Daimler, the

     Plaintiff here (a U.S. citizen) is suing a Florida-based cruise line (Carnival) for injuries

     sustained while participating in an excursion operated by an agent of the cruise line (Tour

     Operator) -- an agent that is set up almost exclusively to do business with Florida cruise

     lines (most of which are based in Florida). Additionally, Because Aruba was a scheduled

     port-of-call and an integral part of the ongoing cruise; the particular incident in this

     matter began and ended in Florida. Unlike Daimler, Carnival is “at home” in this

     jurisdiction because Carnival maintains its principal place of business in Florida.

     Furthermore, under Daimler, Tour Operator’s overwhelming business operations in

     Florida deem it to also be “at home” in this jurisdiction. Tour operator is also “at home”

     in Florida, because the vast majority of its business partnerships and activities in the

     United States are in Florida.


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     38.       As noted in Waite v. AII Acquisition Corp., No. 15-CV-62359, 2015 WL 9595222

     (S.D. Fla. Dec. 29, 2015), this court explicitly stated that “Daimler does not overturn

     longstanding Supreme Court precedent as it pertains to a general jurisdiction

     analysis, nor does it hold that in order for a corporation to be subject to the jurisdiction of

     a court it must be incorporated or maintain its principal place of business in the forum

     state.”

     39.       Under binding Eleventh Circuit precedent the “minimum contacts” prong of the

     personal jurisdiction inquiry is necessarily case and fact specific. Guevara v. Republic of

     Peru, 468 F.3d 1289, 1306 (11th Cir. 2006)

     B.        Tour Operator’s activities in Florida also satisfy sub-section (a) of the
               Specific Jurisdiction Section of Florida’s long-arm statute.

     40.       Tour Operator’s activities in Florida also satisfy sub-section (a) of the “Specific

     Jurisdiction” Section of Florida’s long-arm statute. At all times material, Tour Operator

     reached out to Florida-based cruise lines, insurers, cruise industry associates and

     premium financing companies solely for the purpose of operating, conducting, engaging

     in, or carrying on a business or business venture in this state. Fla. Stat. 48.1913(1)(a).

     C.        Tour Operator’s activities in Florida also satisfy sub-section (d) of the
               Florida long-arm statute.

     41.       As part of its contracts with Florida-based cruise lines, Tour Operator

     contractually agrees to indemnify Florida-based cruise lines (entities mostly located in

     Miami and Ft. Lauderdale) for any harm resulting to cruise passengers. Accordingly,

     under 48.193(1)(d), Tour Operator insures persons in Florida. See Kilma v. Carnival

     Corporation, 2008 WL 4559231 (S.D. Fla. 2008) (“If other agreements negotiated in

     Florida exist between Thriller and other Florida-based cruise lines, if Carnival or other


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     Florida based cruise lines have agreements to insure and indemnify Thriller for services

     provided by Thriller to cruise passengers, or there are any other relevant contacts between

     Thriller and the State of Florida, these activities may be sufficient to establish general

     jurisdiction under the long arm statute.”).

                                   GENERAL ALLEGATIONS

     42.    The causes of action asserted in this Complaint arise under the General Maritime

     Law of the United States.

     43.    At all times material hereto, Defendant Carnival owned, operated, managed,

     maintained and/or controlled the vessel, Carnival Conquest.

     44.     At all times material hereto, Defendants Tour Operators owned and/or operated

     the subject excursion, “Mi Dushi Sail & Snorkel with lunch tour” in Catalina Bay, Aruba

     which was offered, arranged for, sponsored, recommended, marketed, sold, co-operated

     and/or managed by Defendant Carnival.

     45.    The Tour Operators are believed to have entered into a contract with Carnival for

     the protection of Carnival’s passengers, whereby the Tour Operators agreed to subject

     themselves to the laws and jurisdiction of the State of Florida, consented to personal

     jurisdiction over themselves, and consented to the venue of the United States District

     Court for the Southern District of Florida. The Tour Operators are believed to have also

     agreed to indemnify Carnival for the claims made in this Complaint within the meaning

     of Florida Statute § 48.193(d).      Furthermore, the Tour Operators are subject to the

     jurisdiction of this Court because they sold the subject excursion ticket through

     Carnival’s website which is administered in Florida.




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     46.     On or about August 20, 2015, Plaintiff was a paying passenger on the Defendant’s

     vessel, Carnival Conquest.

     47.     At all times material hereto, excursions from the Carnival Conquest were

     advertised to passengers and the Plaintiff in Carnival’s website and Carnival’s

     promotional material, including, but not limited to, brochures which contained Carnival’s

     logo.

     48.     At all times material hereto, Carnival offered passengers aboard the Carnival

     Conquest and the Plaintiff the opportunity to go on various shore excursions during the

     subject cruise, including, but not limited to, Defendant Tour Operator “Mi Dushi Sail &

     Snorkel with lunch tour” in Catalina Bay, Aruba.

     49.     At all times material hereto, Carnival had a shore excursion desk aboard the

     Carnival Conquest for the purpose of, inter alia, providing Carnival passengers

     recommendations regarding shore excursions and charging CARNIVAL passengers for

     shore excursions.

     50.     At all times material hereto, CARNIVAL sold tickets for the “Mi Dushi Sail &

     Snorkel with lunch tour” in Catalina Bay, Aruba excursion to passengers aboard the

     Carnival Conquest and the Plaintiff during the subject cruise.

     51.     At all times material hereto, CARNIVAL did not provide any information to

     Plaintiff with respect to the name, address, owner and/or operator of the excursion.

     52.     While on the ship, CARNIVAL recommended to the Plaintiff to purchase the “Mi

     Dushi Sail & Snorkel with lunch tour” taking place in the scheduled port of call of

     Catalina Bay, Aruba.




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     53.     On or about August 20, 2015, as part of Plaintiff’s cruise aboard the Carnival

     Conquest, Plaintiff participated in the “Mi Dushi Sail & Snorkel with lunch tour”

     excursion. This excursion was arranged for, sponsored, recommended, operated,

     marketed, and/or sold by CARNIVAL as part of the voyage on the subject cruise.

     54.     At all times material hereto, the Tour Operators were the agent(s) and/or apparent

     agent(s) of CARNIVAL by virtue of the following, such that CARNIVAL is estopped

     from denying that CARNIVAL was the agent for the Tour Operator:

             a.      CARNIVAL made all arrangements for the subject excursion without

     disclosing to Plaintiff that the subject excursion was being run by another entity (and/or

     entities); and/or

             b.      CARNIVAL marketed the subject excursion using its company logo on its

     website and/or in its brochures and/or on its ship without disclosing to Plaintiff that the

     subject excursion was being run by another entity (and/or entities); and/or

             c.      CARNIVAL maintained an excursion desk on its ship whereby it offered,

     sold, provided information to, and answered questions of passengers about the subject

     excursion without disclosing to Plaintiff that the subject excursion was being run by

     another entity (and/or entities); and/or

             d.      CARNIVAL recommended its passengers to not engage in excursions,

     tours and/or activities that are not sold through CARNIVAL; and/or

             e.      Until the point that Plaintiff actually participated in the subject excursion,

     the Plaintiff’s exclusive contact concerning the subject excursion was with CARNIVAL

     and/or CARNIVAL’s onboard excursion desk; and/or




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            f.      The fee for the subject excursion was charged to the Plaintiff, and

     collected from the Plaintiff, exclusively by CARNIVAL; and/or

            g.      Plaintiff received a receipt exclusively from CARNIVAL for the purchase

     of the subject excursion.

     55.    At all times material hereto, Plaintiff relied on the above, to his detriment, so as to

     believe that the Tour Operators were the employee(s) and/or agent(s) of CARNIVAL, in

     choosing the subject shore excursion. At no time did CARNIVAL represent to Plaintiff

     in particular, or the ship’s passengers in general, in a meaningful way that the Tour

     Operators were not agent(s) and/or employee(s) of CARNIVAL.

     56.    At all times material hereto, CARNIVAL was the owner or co-owner of the

     subject excursion. At all times material hereto, CARNIVAL was responsible for, and

     liable for, the actions of the Tour Operator with respect to the subject excursion.

     57.    In the alternative, at all times material hereto, a partnership and/or joint venture

     existed between the Tour Operator and CARNIVAL by virtue of the following, whereby

     CARNIVAL and the Tour Operator are jointly and severally responsible for the

     negligence of each other as partners of the partnership and/or joint venture:

     a.     CARNIVAL and the Tour Operator entered into an agreement whereby:

     CARNIVAL made all arrangements for the Plaintiff, on behalf of the partnership with the

     Tour Operator, for the subject excursion being run by the Tour Operator; and/or

     b.     CARNIVAL marketed on CARNIVAL’s website and/or in its brochures and/or

     on its ship, on behalf of the partnership with the Tour Operator, the subject excursion

     being run by the Tour Operator; and/or




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     c.     CARNIVAL maintained an excursion desk on its ship whereby it offered, sold,

     provided information to, and answered questions of passengers, on behalf of the

     partnership with the Tour Operator, about the subject excursion being run by the Tour

     Operator; and/or

     d.     The Tour Operator provided the subject excursion boat to be used in the subject

     excursion; and/or

     e.     CARNIVAL determined the amount of money charged for the subject excursion

     being run by the Tour Operator; and/or

     f.     CARNIVAL collected the amount of money charged for the subject excursion

     being run by the Tour Operator; and/or

     g.     CARNIVAL paid the Tour Operator a portion of the sales of tickets for the

     subject excursion after the subject excursion tickets were sold; and/or

     h.     CARNIVAL shared profits and losses with the Tour Operator for the subject

     excursion.

     58.    At all times material hereto, CARNIVAL was an agent for the Tour Operator in

     the United States.

     59.    At all times material hereto, CARNIVAL was a partner in the subject excursion.

     60.    At all times material hereto, CARNIVAL operated and/or supervised the subject

     excursion.

     61.    At all times material hereto, the Tour Operator owned and operated the subject

     excursion. The Tour Operators were involved in providing the subject excursion to

     Plaintiff. At all times material hereto, the Tour Operators were the agent(s), apparent

     agent(s), joint venturer(s), servant(s), and/or employee(s) of CARNIVAL and at all times


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     acted within the course and scope of their employment, agency, apparent agency, joint

     venture or service.

     62      When recommending and selling the excursion, CARNIVAL never disclosed to

     her the magnitude of physical challenge required and the dangers he would encounter on

     the excursion.

     63.     Instead, at all times material hereto, CARNIVAL represented the subject shore

     excursion as being a ‘moderate’ shore excursion.

     64.     At all times material hereto, CARNIVAL did not provide any restrictions or

     warnings to its passengers regarding health or safety concerns for passengers considering

     the subject shore excursion.

     65.     At all times material hereto, the Plaintiff relied on CARNIVAL’s representations

     that the level of activity of the subject shore excursion was ‘moderate’ and that there

     were no notable restrictions or warnings regarding health or safety concerns for

     passengers purchasing and participating in the subject shore excursion.

     66.     In fact, despite CARNIVAL’s representations of safety to the Plaintiff, at all

     times material, CARNIVAL was on notice of the hazardous conditions on the excursion.

     66.     The “Mi Dushi Sail & Snorkel with lunch tour” excursion consists of a 5.5 hour

     day excursion on board the ‘Mi Dushi’ watercraft. Florida cruise passengers, such as the

     Plaintiff, stop at three different places for snorkeling.

     67.     As part of the excursion, on August 20, 2015 the Plaintiff boarded the ‘Mi Dushi’

     watercraft in Aruba, as part of her cruise on board the Carnival Conquest (with itineraries

     that began and ended in Florida). After the first snorkeling stop, the Plaintiff was

     returning to her seat on the upper deck. The steps to the upper deck were unreasonably


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     steep for the Plaintiff’s height. The Plaintiff attempted to use the upper rail to pull herself

     up to the top step, when her hand slipped, threw her off balance to her left and over the

     ledge. As a result, the Plaintiff fell down to the bottom deck.

     68.    Notably, neither Carnival nor Tour Operator provided adequate warnings about

     the hazards involved in climbing the steep steps to the upper deck. Additionally, neither

     Carnival nor the Tour Operator provided alternative safe mechanisms to allow passengers

     to safely embark on board the watercraft ‘Mi Dushi.’

     69.    Upon information and belief, Carnival and the Tour Operator are on notice of

     prior incidents on board the watercraft ‘Mi Dushi’ on which passengers have injured

     themselves, and in particularly climbing up to the upper decks of the watercraft.

     70.    As a result of the fall, the Plaintiff suffered severe injuries, including a broken

     ankle, fractured fibula and broken wrist.

     71.    At all material times, the hazardous condition was hidden and concealed, thereby

     affording the Plaintiff no warning of the existence of the hazard.

                 COUNT I – NEGLIGENCE AGAINST ALL DEFENDANTS

     Plaintiff re-alleges, adopts, and incorporates by reference the allegations in paragraphs

     one (1) thirty-nine (71) as though alleged originally herein.

     72.    It was the duty of Defendants to provide Plaintiff with reasonable care under the

     circumstances.

     73.    On or about August 20, 2015, Defendants and/or their agents, servants, joint

     venturers and/or employees breached their duty to provide Plaintiff with reasonable care

     under the circumstances.




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     74.      Plaintiff was injured due to the fault and/or negligence of Defendants and/or their

     agents, servants, joint venturers and/or employees for acts and/or omissions that include,

     but are not limited to, the following:

     a.       Failure to provide a safe excursion; and/or

     b.       Failure to properly supervise and oversee the excursion marketed, advertised,

     offered and sold to its guests; and/or

     c.       Failure to adequately monitor excursion providers so as to ensure that the

     excursion tours were reasonably safe for cruise passengers and the Plaintiff; and/or

     d.       Failure to adequately warn Plaintiff of the dangers of participating in the subject

     excursion; and/or

     e.       Failure to adequately determine physical limitations which should be associated

     with the subject excursion; and/or

     f.       Failure to adequately communicate physical limitations which are and/or should

     be associated with the subject excursion; and/or

     g.       Failure to adequately monitor excursion providers so as to ensure that the

     operations of excursion tours were reasonably safe for Plaintiff and cruise passengers;

     and/or

     h.       Failure to ensure that properly trained and supervised persons operated the subject

     excursion; and/or

     i.       Having a shore excursion that was not competently operated; and/or

     j.       Failure to provide an excursion with properly trained operators and personnel;

     and/or

     k.       Failure to cancel the subject excursion in light of the hazardous conditions; and/or


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     l.       Failure to promulgate and/or enforce adequate policies and procedures with

     regard to the cancellation of shore excursions in hazardous conditions; and/or

     m.       Failure to require the shore excursion operator to promulgate and/or enforce

     adequate policies and procedures with regard to the cancellation of shore excursions in

     hazardous conditions; and/or

     n.       Failure to provide prompt, proper, or adequate first aid to the Plaintiff; and/or

     o.       Failure to assist the Plaintiff to obtain adequate medical care on a timely basis;

     and/or

     p.       Failure to require the shore excursion operator to actively monitor passengers and

     Plaintiff during the subject excursion; and/or

     q.       Failure to adequately ascertain the shore excursion operator’s ability and/or

     commitment to actively monitor passengers during the subject shore excursion; and/or

     r.       Failure to warn Plaintiff of the shore excursion operator’s inability and/or

     unwillingness to actively monitor passengers during the subject shore excursion; and/or

     s.       Failure to warn Plaintiff of the dangers associated with the shore excursion not

     actively monitoring passengers during the subject shore excursion; and/or

     t.       Failure to ascertain the dangers, restrictions and/or warnings regarding health or

     safety concerns for passengers purchasing and participating in the subject shore

     excursion; and/or

     u.       Failure to warn Plaintiff of the dangers, restrictions and/or warnings regarding

     health or safety concerns for passengers purchasing and participating in the subject shore

     excursion; and/or




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     v.     Failure to adequately ascertain the level of activity and/or danger the subject shore

     excursion posed to passengers; and/or

     w.     Failure to fairly and/or adequately communicate the level of activity and/or

     danger the subject shore excursion posed to passengers; and/or

     x.     Inappropriately assigning the subject shore excursion a ‘moderate’ label,

     identifying it to the Plaintiff and other passengers as an easy, inactive shore excursion

     which posed little or no hazard or danger to passengers; and/or

     y.     Failure to provide adequate shore excursion guides to adequately protect Plaintiff

     and other passengers from dangers in the area of the subject excursion; and/or

     z.     Failure to fairly and/or adequately communicate the level of activity and/or

     danger the subject shore excursion posed to passengers; and/or

     aa.    Operating a vessel with unreasonably steep staircases that can create a hazard for

     passengers; and/or

     bb.    Failing to provide passengers, such as the Plaintiff, safer alternative routes to

     access the top decks of the vessel; and/or

     cc.    Operating a vessel with inadequate and hazardous railings; and/or

     dd.    Failure to warn Plaintiff of the hazards, including failing to warn the Plaintiff of

     unreasonable steep staircases, and inadequate and hazardous railings; and/or

     ee.    Operating a vessel with stairs that have no railings; and/or

     gg.    Failing to maintain the area in a clean and dry condition; and/or

     hh.    Allowing water and or other slippery substance on the railing area and/or steps

     area; and/or




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     ii.      Failed to have a non-slip or non-skid surface on the steps area and/or railing area;

     and/or

     jj.      Failed to warn Plaintiff of the danger of a wet and slippery steps and/or railing

     area; and/or

     kk.      Failed to place rubber mats or other non-slip coverings in and around the area;

     and/or

     ll.      Failed to provide a non-skid surface in and around the area; and/or

     mm.      Failed to put up warning signs warning plaintiff of the dangerous condition in and

     around the area; and/or

     nn.      Failed to have a procedure in place in order to ensure the steps were free from any

     dangerous condition; and/or

     oo.      Failed to have adequate procedures to assign seating to passengers based on their

     physical abilities and height and weight; and/or

     pp.      Failed to have an adequate barrier on the ocean side of the stairs on which the

     Plaintiff fell.

              All of which caused the Plaintiff to suffer severe injuries while participating in the

     subject shore excursion.

     75.      At all times material hereto, CARNIVAL had exclusive custody and control of

     the vessel, the Carnival Conquest.

     76.      At all times material hereto, Defendants represented the subject shore excursion

     as being a ‘moderate’ shore excursion.




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     77.    At all times material hereto, Defendants did not provide any restrictions or

     warnings to its passengers regarding health or safety concerns for passengers considering

     the subject shore excursion.

     78.    At all times material hereto, the Plaintiff entirely relied on Defendant’s

     representations that the level of activity of the subject shore excursion was the easiest,

     least active level of all of its shore excursions and that there were no notable restrictions

     or warnings regarding health or safety concerns for passengers purchasing and

     participating in the subject shore excursion.

     79.    Defendants never disclosed to her the magnitude of physical challenge required

     and the dangers he would encounter on the excursion.

     80.    Defendants knew of the foregoing conditions causing Plaintiff’s accident and did

     not correct them, or the conditions existed for a sufficient length of time so that

     Defendants, in the exercise of reasonable care under the circumstances, should have

     learned of them and corrected them.

     81.    As a result of the negligence of Defendants, the Plaintiff was injured about

     Plaintiff’s body and extremities, suffered physical pain, mental anguish, loss of

     enjoyment of life, disability, disfigurement, post-traumatic stress disorder and other

     mental and/or nervous disorders, aggravation of any previously existing conditions

     therefrom, incurred medical expenses in the care and treatment of Plaintiff's injuries,

     suffered physical handicap, lost earnings and lost earning capacity both past and future.

     The injuries are permanent or continuing in nature and Plaintiff will suffer the losses and

     impairments in the future. In addition, Plaintiff lost the benefit of Plaintiff's vacation,

     cruise, and transportation costs.


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              WHEREFORE, Plaintiff demands judgment for all damages recoverable under

     the law and demands trial by jury.

                         COUNT II– APPARENT AGENCY OR AGENCY
                          BY ESTOPPEL CLAIM AGAINST CARNIVAL

              Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

     paragraphs one (1) through thirty-nine (71) as through alleged originally herein.

     81.      At all times material hereto, the Tour Operators were the apparent agent(s) of

     CARNIVAL.

     82.      At all times material hereto, CARNIVAL is estopped to deny that the Tour

     Operators were their agent(s) or employee(s).

     83.      At all times material hereto, CARNIVAL made manifestations which caused

     Plaintiff to believe that the Tour Operator had authority to act for the benefit of

     CARNIVAL. These manifestations included:

     a.       CARNIVAL allowed its name to be utilized in connection with the advertising of

     the Tour Operator; and/or

     b.       CARNIVAL made all arrangements for the subject excursion without effectively

     disclosing to Plaintiff that the subject excursion was being run by another entity (and/or

     entities); and/or

     c.       CARNIVAL marketed the subject excursion using its company logo on its

     website and/or in its brochures and/or on its ship without effectively disclosing to

     Plaintiff that the subject excursion was being run by another entity (and/or entities);

     and/or

     d.       CARNIVAL maintained an excursion desk on its ship whereby it offered, sold,

     provided information to, and answered questions of passengers about the subject

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     excursion without effectively disclosing to Plaintiff that the subject excursion was being

     run by another entity (and/or entities); and/or

     e.       Until the point that Plaintiff actually participated in the subject excursion, the

     Plaintiff’s exclusive contact concerning the subject excursion was with CARNIVAL;

     and/or

     f.       CARNIVAL recommended to Plaintiff to not engage in excursions, tours or

     activities that are not sold through CARNIVAL as CARNIVAL has no familiarity with

     other tours or their operations; and/or

     g.       Plaintiff received a receipt exclusively from CARNIVAL for the purchase of the

     subject excursion; and/or

     h.       The fee for the excursion was charged to the Plaintiff, and collected from the

     Plaintiff, exclusively by CARNIVAL.

     84.      At all times material hereto, Plaintiff relied on the above, to his detriment, so as to

     believe that the Tour Operator were the employee(s) and/or agent(s) of CARNIVAL, in

     choosing the subject excursion. Additionally, CARNIVAL’s actions caused Plaintiff to

     believe that the Tour Operator had authority to act on CARNIVAL’s behalf.

     85.      The foregoing acts of negligence of CARNIVAL and/or the Tour Operators were

     a direct and proximate cause of the Plaintiff’s injuries and damages.

     86.      As a result of the negligence of the Defendants, the Plaintiff was injured about

     Plaintiff’s body and extremities, suffered physical pain, mental anguish, loss of

     enjoyment of life, disability, disfigurement, post-traumatic stress disorder and other

     mental and/or nervous disorders, aggravation of any previously existing conditions

     therefrom, incurred medical expenses in the care and treatment of Plaintiff's injuries,


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     suffered physical handicap, lost earnings and lost earning capacity both past and future.

     The injuries are permanent or continuing in nature and Plaintiff will suffer the losses and

     impairments in the future. In addition, Plaintiff lost the benefit of Plaintiff's vacation,

     cruise, and transportation costs.

             WHEREFORE, Plaintiff demands judgment for all damages recoverable under

     the law and demands trial by jury.

           COUNT III – JOINT VENTURE BETWEEN THE TOUR OPERATOR AND
                                    CARNIVAL

             Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

     paragraphs one (1) through thirty (71) as through alleged originally herein.

     87.     At all times material hereto, CARNIVAL and the Tour Operator engaged in a

     joint venture to provide excursions to passengers aboard CARNIVAL’s ship(s).

     88.     At all times material hereto, CARNIVAL and the Tour Operators entered into an

     agreement where CARNIVAL would sell the subject shore excursion to its passengers

     and the Tour Operators would operate the subject shore excursion.

     89.     As its part of the joint venture, CARNIVAL arranged for, sponsored,

     recommended, marketed, operated, marketed, sold and/or collected money for the subject

     excursion and the money was then shared between CARNIVAL and the Tour Operators.

     90.     As its part of the joint venture, the Tour Operator provided labor and/or operated

     the subject excursion.

     91.     CARNIVAL, on behalf of the joint venture, charged a fee to passengers who

     utilized the excursions. The fee was split between CARNIVAL and the Tour Operator.

     92.     At all times material hereto, CARNIVAL and the Tour Operator had joint and/or

     shared control over aspects of the joint venture. The Tour Operator had control over the

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     day-to-day workings of the excursions. CARNIVAL also had control over the day-to-day

     workings of the excursions in that they required the Tour Operator to exercise reasonable

     care in the operation of the subject excursion. CARNIVAL had control over the

     arrangements, marketing and sales of the excursion.

     93.    At all times material hereto, CARNIVAL and the Tour Operator shared a

     common purpose: to operate the subject shore excursion for a profit.

     94.    At all times material hereto, CARNIVAL and the Tour Operator had a joint

     proprietary and/or ownership interest in the subject shore excursion. CARNIVAL had an

     interest in arranging, sponsoring, recommending, advertising, operating, and selling the

     subject shore excursion as well as collecting money for such excursion, and the Tour

     Operator had a proprietary interest in the time and labor expended in operating the

     subject shore excursion.

     95.    At all times material hereto, CARNIVAL and the Tour Operator shared any losses

     sustained from the joint venture.

     96.    CARNIVAL and the Tour Operator are jointly and severally responsible for the

     negligence of each others as partners of the partnership and/or joint venture.

     97.    At all times material hereto, CARNIVAL and the Tour Operator therefore:

     a.     Had an intention to create a joint venture;

     b.     Had a joint proprietary interest in the subject matter of the venture;

     c.     Had mutual control and/or joint control over the subject matter of the venture with

     respect to the provision of excursions to passengers aboard the ship;

     d.     Had a right to share in the profits of the joint venture; and

     e.     Would share losses which may have been sustained.


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     98.    As joint venturers, CARNIVAL and the Tour Operator are liable for each other’s

     negligence. As a result, CARNIVAL is liable for the negligent conduct of the Tour

     Operator.

     99.    As a result of the negligence of Defendants, the Plaintiff was injured about

     Plaintiff’s body and extremities, suffered physical pain, mental anguish, loss of

     enjoyment of life, disability, disfigurement, post-traumatic stress disorder and other

     mental and/or nervous disorders, aggravation of any previously existing conditions

     therefrom, incurred medical expenses in the care and treatment of Plaintiff's injuries,

     suffered physical handicap, lost earnings and lost earning capacity both past and future.

     The injuries are permanent or continuing in nature and Plaintiff will suffer the losses and

     impairments in the future. In addition, Plaintiff lost the benefit of Plaintiff's vacation,

     cruise, and transportation costs.

            WHEREFORE, Plaintiff demands judgment for all damages recoverable under

     the law and demands trial by jury.

                         COUNT IV – THIRD PARTY BENEFICIARY

            Plaintiff re-alleges, adopts, and incorporates by reference the allegations in

     paragraphs one (1) through thirty (71) as through alleged originally herein.

     100.   At all times material hereto, CARNIVAL advertised to the Plaintiff and other

     passengers that one of the reasons that the Plaintiff and other passengers should book

     shore excursions through CARNIVAL is because CARNIVAL contracts with “insured

     tour operators, offering peace of mind.”

     101.   CARNIVAL and the Tour Operator entered into a contract to provide excursions

     for passengers on board CARNIVAL’s ship(s).


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     102.     The contract between the parties clearly manifested the intent of the contracting

     parties that the contract primarily and directly benefits the Plaintiff third party by

     requiring the Tour Operator to maintain insurance and/or exercise reasonable care in the

     operation of the subject excursion.

     103.     This contract was breached by the Tour Operator and Defendant CARNIVAL for

     acts and/or omissions that include, but are not limited to, the following:

     a.       Failure to provide a safe excursion; and/or

     b.       Failure to properly supervise and oversee the excursion marketed, advertised,

     offered and sold to its guests; and/or

     c.       Failure to adequately monitor excursion providers so as to ensure that the

     excursion tours were reasonably safe for cruise passengers and the Plaintiff; and/or

     d.       Failure to adequately warn Plaintiff of the dangers of participating in the subject

     excursion; and/or

     e.       Failure to adequately determine physical limitations which should be associated

     with the subject excursion; and/or

     f.       Failure to adequately communicate physical limitations which are and/or should

     be associated with the subject excursion; and/or

     g.       Failure to adequately monitor excursion providers so as to ensure that the

     operations of excursion tours were reasonably safe for Plaintiff and cruise passengers;

     and/or

     h.       Failure to ensure that properly trained and supervised persons operated the subject

     excursion; and/or

     i.       Having a shore excursion that was not competently operated; and/or


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     j.       Failure to provide an excursion with properly trained operators and personnel;

     and/or

     k.       Failure to cancel the subject excursion in light of the hazardous conditions; and/or

     l.       Failure to promulgate and/or enforce adequate policies and procedures with

     regard to the cancellation of shore excursions in hazardous conditions; and/or

     m.       Failure to require the shore excursion operator to promulgate and/or enforce

     adequate policies and procedures with regard to the cancellation of shore excursions in

     hazardous conditions; and/or

     n.       Failure to provide prompt, proper, or adequate first aid to the Plaintiff; and/or

     o.       Failure to assist the Plaintiff to obtain adequate medical care on a timely basis;

     and/or

     p.       Failure to require the shore excursion operator to actively monitor passengers and

     Plaintiff during the subject excursion; and/or

     q.       Failure to adequately ascertain the shore excursion operator’s ability and/or

     commitment to actively monitor passengers during the subject shore excursion; and/or

     r.       Failure to warn Plaintiff of the shore excursion operator’s inability and/or

     unwillingness to actively monitor passengers during the subject shore excursion; and/or

     s.       Failure to warn Plaintiff of the dangers associated with the shore excursion not

     actively monitoring passengers during the subject shore excursion; and/or

     t.       Failure to ascertain the dangers, restrictions and/or warnings regarding health or

     safety concerns for passengers purchasing and participating in the subject shore

     excursion;




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     u.     Failure to warn Plaintiff of the dangers, restrictions and/or warnings regarding

     health or safety concerns for passengers purchasing and participating in the subject shore

     excursion; and/or

     v.     Failure to adequately ascertain the level of activity and/or danger the subject shore

     excursion posed to passengers; and/or

     w.     Failure to fairly and/or adequately communicate the level of activity and/or

     danger the subject shore excursion posed to passengers;

     x.     Inappropriately assigned the subject shore excursion a ‘moderate’ label,

     identifying it to the Plaintiff and other passengers as an easy, inactive shore excursion

     which posed little or no hazard or danger to passengers; and/or

     y.     Failure to provide adequate shore excursion guides to adequately protect Plaintiff

     and other passengers from dangers in the area of the subject excursion.

     z.     Failure to fairly and/or adequately communicate the level of activity and/or

     danger the subject shore excursion posed to passengers;

     aa.    Inappropriately assigned the subject shore excursion a ‘moderate’ label,

     identifying it to the Plaintiff and other passengers as an easy, inactive shore excursion

     which posed little or no hazard or danger to passengers; and/or

     bb.    Failure to provide Plaintiff and other excursion passengers a safe method to

     disembark the vessel; and/or

     cc.    Operating a vessel with unreasonably steep staircases that can create a hazard for

     passengers; and/or

     dd.    Failing to provide passengers, such as the Plaintiff, safer alternative routes to

     access the top decks of the vessel; and/or


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     ee.      Operating a vessel with inadequate and hazardous railings; and/or

     ff.      Failure to warn Plaintiff of the hazards, including failing to warn the Plaintiff of

     unreasonable steep staircases, and inadequate and hazardous railings; and/or

     gg.      Failing to maintain the area in a clean and dry condition; and/or

     hh.      Allowing water and or other slippery substance on the railing area and/or steps

     area; and/or

     ii.      Failed to have a non-slip or non-skid surface on the steps area and/or railing area;

     and/or

     jj.      Failed to warn Plaintiff of the danger of a wet and slippery steps and/or railing

     area; and/or

     kk.      Failed to place rubber mats or other non-slip coverings in and around the area;

     and/or

     ll.      Failed to provide a non-skid surface in and around the area; and/or

     mm.      Failed to put up warning signs or cones warning plaintiff of the dangerous

     condition in and around the area; and/or

     nn.      Failed to have a procedure in place in order to ensure the steps were free from any

     dangerous condition; and/or

     oo.      Failed to have adequate procedures to assign seating to passengers based on their

     physical abilities and height and weight; and/or

     pp.      Failed to have an adequate barrier on the ocean side of the stairs on which the

     Plaintiff fell.

              All of which caused the Plaintiff to suffer severe injuries while participating in the

     subject shore excursion.


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     104.   As a result of the negligence of the Defendants, the Plaintiff was injured about

     Plaintiff’s body and extremities, suffered physical pain, mental anguish, loss of

     enjoyment of life, disability, disfigurement, post-traumatic stress disorder and other

     mental and/or nervous disorders, aggravation of any previously existing conditions

     therefrom, incurred medical expenses in the care and treatment of Plaintiff's injuries,

     suffered physical handicap, lost earnings and lost earning capacity both past and future.

     The injuries are permanent or continuing in nature and Plaintiff will suffer the losses and

     impairments in the future. In addition, Plaintiff lost the benefit of Plaintiff's vacation,

     cruise, and transportation costs.

            WHEREFORE, Plaintiff demands judgment for all damages recoverable under

     the law and demands trial by jury.

     Dated: April 12, 2016.



                                                  RESPECTFULLY SUBMITTED,

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